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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



Electronic Privacy Information Center
_______________________________
                             Plaintiff
                                                                     18-2711
                      vs.                           Civil Action No.___________


U.S. Department of Commerce, et al.
____________________________________
                        Defendant


                                 NOTICE OF APPEAL
       Notice is hereby given this 12th       day of February                  , 20 19      , that

Plaintiff Electronic Privacy Information Center

hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from

the judgment of this Court entered on the   8th            day of February               , 20 19

in favor of Defendants U.S. Department of Commerce, et al.

against said Plaintiff Electronic Privacy Information Center.


                                                         /s/ John L. Davisson
                                             __________________________________________
                                                         Attorney or Pro Se Litigant

                                                        Electronic Privacy Information Center
                                                        1718 Connecticut Ave NW, Suite 200
                                                                   Washington, DC 20017
                                                                           202-483-1140
                                                              Address and Phone Number


(Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure a notice of appeal in a civil action
must be filed within 30 days after the date of entry of judgment or 60 days if the United States or
officer or agency is a party)

CLERK Please mail copies of the above Notice of Appeal to the following at the addresses indicated:
